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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

JOHN NANNI,                           )
an individual,                        )
                                      )
       Plaintiff,                     )               Case No:
                                      )
v.                                    )
                                      )
WEINER, KRISTOL, AERENSON             )
JOINT VENTURE, LLC,                   )
a Delaware Limited Liability Company, )
                                      )
       Defendant.                     )
____________________________________/

                                         COMPLAINT

       Plaintiff, JOHN NANNI, an individual, by and through his undersigned counsel, hereby

files this Complaint and sues WEINER, KRISTOL, AERENSON JOINT VENTURE, LLC, a

Delaware Limited Liability Company, for injunctive relief, attorneys’ fees and costs pursuant to

42 U.S.C. §§ 12181 et seq., (“Americans with Disabilities Act” or “ADA”) and states as follows:

                               JURISDICTION AND PARTIES

       1.      This is an action for declaratory and injunctive relief pursuant to Title III of the

Americans with Disabilities Act, 42 U.S.C. §§ 12181, et seq., (the “ADA”). This Court is vested

with original jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1343.

       2.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b).

       3.      Plaintiff, JOHN NANNI, (hereinafter referred to as “MR. NANNI”) is a resident of

the State of Delaware.

       4.      MR. NANNI is a qualified individual with a disability under the ADA. MR.

NANNI suffers from Post-Polio Syndrome. MR. NANNI can only walk a limited distance each

day, and is otherwise confined to a wheelchair.


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          5.    Due to his disability, Plaintiff is substantially impaired in several major life

activities including walking and standing, and requires a wheelchair for mobility.

          6.    The Defendant, WEINER, KRISTOL, AERENSON JOINT VENTURE, LLC,

(hereinafter referred to as “DEFENDANT”) is a Delaware Limited Liability Company registered

to do business in Delaware. DEFENDANT is the owner, lessee, and/or operator of the place of

public accommodation including the real property and improvements which is the subject of this

action, to wit: Chestnut Run Shopping Center, generally located at 1702 Faulkland Rd,

Wilmington, DE 19805 (“the Property”). The Defendant is responsible for complying with the

obligations of the ADA.

          7.    All events giving rise to this lawsuit occurred in the District of Delaware.

                                           COUNT I
                              (VIOLATION OF TITLE III OF THE ADA)

          8.    The allegations set forth in the preceding paragraphs above are incorporated by

reference as if fully set forth herein.

          9.    The Property, a shopping plaza which includes numerous retail stores and

restaurants, is a place of public accommodation and is therefore subject to Title III of the ADA.

          10.   MR. NANNI has visited the Property several times during the past year, regularly

travels to the area where the Property is situated and plans to return to the Property in the near

future.

          11.   During his visits, MR. NANNI experienced serious difficulty accessing the goods

and utilizing the services therein due to the architectural barriers as discussed in this complaint.

          12.   MR. NANNI intends to and will visit the Property to utilize the goods and services

in the future, but fears that he will face the same barriers again unless they are corrected.




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       13.        Defendant has discriminated, and continues to discriminate, against Plaintiff in

violation of 42 U.S.C. §§ 12181 et seq. and 28 C.F.R. §§ 36.304 et seq. by excluding and/or

denying Plaintiff the benefits of the goods and services located on the Property by failing to have

accessible facilities by January 26, 1992. These barriers to access include, but are not limited to

the following items which plaintiff personally observed and/or encountered at the Property:

             A.       Plaintiff personally encountered inaccessible parking throughout the

                      Property due to low and/or missing signage. Specifically, nearly all of

                      the parking spaces designated for disabled use contain signage posted

                      less than sixty (60) inches from the ground. Furthermore, the parking

                      space designated for disabled use in front of Concord Pet Supplies lacks

                      any signage. These conditions made it difficult for Plaintiff to identify

                      the designated disabled parking areas.

             B.       Plaintiff personally encountered inaccessible parking designated as

                      accessible due to excessively steep slopes in the parking spaces and their

                      access aisles in front of Dunkin Donuts. These conditions made it

                      difficult for Plaintiff to safely transfer in and out of his vehicle and

                      increased his risk of a fall.

             C.       Plaintiff encountered inaccessible routes throughout the Property

                      between the disabled use parking spaces and the tenant entrances due to

                      sidewalks with excessive cross-slopes. These conditions made it difficult

                      and unsafe for Plaintiff to use these routes and increased his risk of a fall.

             D.       Plaintiff personally encountered inaccessible curb ramps throughout the

                      Property due to a lack of level landings at the top and bottom of the


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                      ramps, uneven/excessive slopes and pavement in disrepair.           These

                      conditions made it difficult and unsafe for Plaintiff to traverse the ramps

                      and increased his risk of a fall.

             E.       Plaintiff personally encountered that the disabled use parking space near

                      Concord Pet Supplies has a four-inch curb but lacks a ramp for

                      wheelchair access. This condition made it impossible for Plaintiff to use

                      this disabled parking space and gain access to the Concord Pet Supplies

                      tenant.

             F.       Plaintiff personally encountered inaccessible restrooms at the Property.

                      Specifically, the restroom at Walgreens did not contain any insulation

                      on the pipes under the sink. These conditions made it difficult and

                      dangerous for Plaintiff to use the facilities.

       14.        To date, the readily achievable barriers and other violations of the ADA still exist

and have not been remedied or altered in such a way as to effectuate compliance with the

provisions of the ADA.

       15.        Independent of his intent to return as a patron of the Property because he enjoys the

stores located there, Plaintiff additionally intends to return to the Property as an ADA tester to

determine whether the barriers to access stated herein have been remedied. However, but for the

above-described barriers to access, Plaintiff would visit the Property more often.

       16.        Removal of the barriers to access located on the Property is readily achievable,

reasonably feasible and easily accomplishable without placing an undue burden on the Defendant.




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       17.     Removal of the barriers to access located on the Property would allow Plaintiff to

fully utilize the goods and services located therein.

       18.     The Plaintiff has been obligated to retain the undersigned counsel for the filing and

prosecution of this action. Plaintiff is entitled to have his reasonable attorneys’ fees, costs, and

expenses paid by Defendant pursuant to 42 U.S.C. § 12205.

                                     PRAYER FOR RELIEF

       WHEREFORE, the Plaintiff demands judgment against DEFENDANT and requests the

following injunctive and declaratory relief:

       A.      That the Court declares that the Property owned and operated by DEFENDANT is

               in violation of the ADA;

       B.      That the Court enter an Order directing DEFENDANT to alter the facilities to make

               them accessible to and usable by individuals with disabilities to the full extent

               required by Title III of the ADA;

       C.      That the Court enter an Order directing DEFENDANT to evaluate and neutralize

               the policies and procedures towards persons with disabilities for such reasonable

               time so as to allow DEFENDANT to undertake and complete corrective

               procedures.

       D.      That the Court award reasonable attorneys’ fees, costs (including expert fees), and

               other expenses of suit, to the Plaintiff; and that the Court award such other and

               further relief as it deems necessary, just and proper.

       E.      That this Court award Plaintiff such other additional and proper relief as may be

               just and equitable.




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Dated: February 16, 2022.
                                  Respectfully Submitted,


                            By: /s/ David T. Crumplar
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